Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 1 of 8




                             Exhibit 3
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 2 of 8
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 3 of 8
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 4 of 8
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 5 of 8
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 6 of 8
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 7 of 8
Case 9:19-cv-81700-DMM Document 59-3 Entered on FLSD Docket 07/20/2020 Page 8 of 8
